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Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 1 of 6
                 Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 2 of 6
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Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 3 of 6
Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 4 of 6
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Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 5 of 6
     Case 7:16-cr-00120-D Document 582 Filed 08/04/20 Page 6 of 6
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